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AO 245D (Rev 12/10) Judgment in a Criminal Case for Revocations Sheet 1

                                            UNITED STATES DISTRICT COURT
                                                                District of New Mexico

                   UNITED STATES OF AMERICA                                Judgment in a Criminal Case
                              V.                                           (For Revocation of Probation or Supervised Release)

                            Timothy Nieto
                                                                           Case Number: 1:10CR00052-002 JB
                                                                           USM Number: 48890-051
                                                                           Defense Attorney: Charles Fisher, Appointed
THE DEFENDANT:

c    admitted guilt to violations of condition(s) Special of the term of supervision.
d    was found in violation of condition(s) after denial of guilt.

The defendant is adjudicated guilty of these violations:

Violation           Nature of Violation                                                                 Violation Ended
Number
1                   Special - The defendant shall reside at an complete a program at a Residential 04/11/2011
                    Re-Entry Center for a period of 6 months as approved by the probation
                    officer.

The defendant is sentenced as provided in pages 1 through 5 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

c    The defendant has not violated condition(s) MC and is discharged as to such violation(s).

IT IS FURTHER ORDERED that the defendant must notify the United States attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

7934                                                                       May 27, 2011
Last Four Digits of Defendant's Soc. Sec. No.                              Date of Imposition of Judgment

1989                                                                       /s/ James O. Browning
Defendant's Year of Birth                                                  Signature of Judge


                                                                           Honorable James O. Browning
Albuquerque , NM                                                           United States District Judge
City and State of Defendant's Residence                                    Name and Title of Judge



                                                                           June 30, 2011
                                                                           Date Signed
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Sheet 2 Imprisonment                                                                                                   Judgment Page 2 of 5


Defendant: Timothy Nieto
Case Number: 1:10CR00052-002 JB


                                                                   IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of 3 months.

Although advisory, the Court has considered the Guidelines and, in arriving at its sentence, has taken account of the Guidelines
with other sentencing goals. Specifically, the Court has considered the Guidlelines` sentencing range established for the applicable
category of offense committed by the applicable category of Defendant. The Court believes that the Guidelines` punishment is
appropriate for this sort of offense. Therefore, the sentence in this judgment is consistent with a guideline sentence. The Court
has considered the kind of sentence and range established by the Guidelines. The Court believes that a sentence of 3 months
reflects the seriousness of the offense, promotes respect for the law, provides just punishment, affords adequate deterrence,
protects the public and effectively provides the Defendant with needed education or vocational training and medical care, and
otherwise fully reflects each of the factors embodied in 18 U.S.C. Section 3553(a). The Court also believes the sentence is reasonable.
The Court believes the sentence is sufficient, but not greater than necessary, to comply with the purposes set forth in the Sentencing
Reform Act.

d      The court makes these recommendations to the Bureau of Prisons:




c      The defendant is remanded to the custody of the United States Marshal.
d      The defendant shall surrender to the United States Marshal for this district:
       d    at on
       d    as notified by the United States Marshal.
d      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       d    before 2 p.m. on
       d    as notified by the United States Marshal
       d    as notified by the Probation or Pretrial Services Office.


                                                                     RETURN

I have executed this judgment as follows:




Defendant delivered on ________________________________________________________________ to
______________________________________ at _______________________________ with a certified copy of this judgment.




                                                                        UNITED STATES MARSHAL



                                                                        By
                                                                        DEPUTY UNITED STATES MARSHAL
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Sheet 3 Supervised Release                                                                                                              Judgment Page 4 of 5
Defendant: Timothy Nieto
Case Number: 1:10CR00052-002 JB
                                                           SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 2 years .



The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the custody of the
Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance.
The defendant shall refrain from any unlawful use of a controlled substance.
The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined
by the court.

d      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future substance abuse.
       (Check, if applicable.)
c      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable).
c      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable).
d      The defendant shall register with the state, local, tribal and/or other appropriate sex offender registration agency in the state where the defendant
       resides, works, or is a student, as directed by the probation officer. (Check, if applicable.)
d      The defendant shall participate in an approved program for domestic violence. (Check, if applicable)

If this judgment imposes a fine or a restitution, it is to be a condition of supervised release that the defendant pay in accordance with Criminal Monetary
Penalties sheet of this judgment.
The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the attached
page.

                                                   STANDARD CONDITIONS OF SUPERVISION

1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each month;
3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)     the defendant shall support his or her dependents and meet other family responsibilities;
5)     the defendant shall obtain and maintain full time, legitimate employment, or attend a vocational or academic training program throughout the
       term of supervised release as directed by the probation officer;
6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance
       or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)     the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a felony
       unless granted permission to do so by the probation officer;
10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
       observed in plain view of the probation officer;
11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
       the court; and
13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
       personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
       with such notification requirement;
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Sheet 3C Supervised Release


Defendant: Timothy Nieto
Case Number: 1:10CR00052-002 JB


                                            SPECIAL CONDITIONS OF SUPERVISION

As to the following standard condition, it shall not apply to employers: as directed by the probation officer,
the defendant shall notify third parties of risks that may be occasioned by the defendant`s criminal record
or personal history or characteristics and shall permit the probation officer to make such notifications and
to confirm the defendant`s compliance with such notification requirements.

The Defendant shall participate in and successfully complete a substance abuse treatment program, which
may include drug testing and outpatient counseling.

The Defendant shall refrain from the possession of alcohol, and other forms of intoxicants. Further, the
Defendant shall not frequent places where alcohol is the primary item for sale.

The Defendant shall submit to the search by the probation officer of his person, property, or automobile
under the Defendant`s control to ensure compliance with all conditions of supervision.

The Defendant shall participate in and successfully complete a mental health treatment program, which
may include outpatient counseling.

The Defendant shall have no contact with the co-Defendant.

The Defendant must participate in and successfully complete location monitoring for a period of 90 days
in the location monitoring program with the Radio Frequency (RF) technology under the home detention
component. The Defendant may be required to pay a portion or all costs of such program.
